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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

MAETTA GREEN,                      §
                                   §
       Plaintiff,                  §
                                   §
V.                                 §                        CIVIL ACTION NO. 3:11-cv-02432-B
                                   §
MEDCO HEALTH SOLUTIONS OF TEXAS, §
LLC, MEDCO HEALTH SOLUTIONS, INC., §
and AON HEWITT ABSENCE             §
MANAGEMENT, LLC f/k/a DISABILITY   §
MANAGEMENT ALTERNATIVES, LLC       §
d/b/a HEWITT LCG,                  §
                                   §
       Defendants.                 §
                                   §

                  DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION
                       FOR PARTIAL SUMMARY JUDGMENT

         Pursuant to Federal Rule of Civil Procedure 56, Defendants Medco Health Solutions of

Texas, LLC, Medco Health Solutions, Inc. (together, “Medco”), and Aon Hewitt Absence

Management LLC (“Aon”) (collectively, “Defendants”) submit their Response to Plaintiff’s

Motion for Partial Summary Judgment (See Docket Entry No. 51).             Defendants’ Brief in

Response To Plaintiff’s Motion for Partial Summary Judgment (“the Brief”) is filed

simultaneously with this Response.

         In the Brief, Defendants rely upon and cite to their Appendix in Support of Defendants’

Motion for Summary Judgment (See Docket Entry No. 59). Pursuant to LR 56.4(b), each of the

matters required by LR 56.4(a) is set forth in the Brief.




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                                                      Respectfully submitted,

                                                  By: /s/ Timothy M. Watson___________________________
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this the 28th day of December, 2012, a true and correct copy of
the foregoing document was served on counsel of record as shown below via CM/ECF as
follows:

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                                                   /s/ Timothy M. Watson
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